                      UNITED  STATES COURT
                       Case: 24-1091       OF4APPEALS
                                     Document:   Page: 1FORDate
                                                           THEFiled:
                                                                THIRD  CIRCUIT
                                                                     01/19/2024

                                                       No. 24-1091

                           Edward A. Williams                      vs. Attorney General of the U.S., et al.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:
 Attorney General of U.S.; Dir. of Bur. of Alcohol, Tobacco, Firearms, and Explosives; Dir. of FBI; USA

Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                   ✔ Appellant(s)
                                             ____                                 ____ Intervenor(s)

         ____ Respondent(s)                  ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) CounseO’s Name Kevin B. Soter
                                ________________________________________________________________
                                     ✔ Mr.
                                   ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Kevin B. Soter

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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
